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               UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION
                                      Case: 2:21−cr−20490
UNITED STATES OF AMERICA              Assigned To : Parker, Linda V.
                                      Referral Judge: Stafford, Elizabeth A.
                         CRIMINAL NO.Assign. Date : 7/27/2021
                                      Description: INFO USA v. SPIVEY
vs.                      HONORABLE (SO)

                                     VIOLATIONS:         18 U.S.C. ' 371
                                                          18 U.S.C. ' 666(a)

D-1   ANDRE SPIVEY,

          Defendant.
_________________________________/

                                 INFORMATION

      The United States Attorney charges:

                                   COUNT ONE

           (18 U.S.C. §§ 371 & 666(a) – Conspiracy to Commit Bribery)

D-1   ANDRE SPIVEY

                               THE CONSPIRACY

      1. From in or about 2016 through in or about 2020, in the Eastern District of

Michigan, Southern Division, defendant ANDRE SPIVEY did unlawfully, willfully,

and knowingly combine, conspire, confederate, and agree with Public Official A and

other individuals to commit an offense against the United States, that is, to commit

federal program bribery, in violation of Title 18, United States Code, Section 666(a).

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      2. During the period between 2009 and 2020, ANDRE SPIVEY served as an

elected member of the Detroit City Council. During a portion of that period of time,

Public Official A was employed by the City of Detroit as a member of ANDRE

SPIVEY’s staff.

      3. Between 2016 and 2020, ANDRE SPIVEY and Public Official A corruptly

accepted over $35,000 in bribe payments in connection with SPIVEY’s position as

a member of the Detroit City Council. Both ANDRE SPIVEY and Public Official

A accepted the bribe payments with the intent to be influenced and rewarded in

connection with upcoming votes on the Detroit City Council and in subcommittees

of the Detroit City Council concerning an industry under review by the council.

      4. In each of the calendar years of the conspiracy, the City of Detroit received

over $10,000 in federal assistance.

                                      OVERT ACT

      In furtherance of the unlawful conspiracy, and to effect its objectives, the co-

conspirators committed the following overt act in the Eastern District of Michigan,

among others:

      5. On October 26, 2018, ANDRE SPIVEY accepted a $1,000 cash bribe

payment from an undercover law enforcement agent.

      All in violation of Title 18, United States Code, Sections 371 and 666(a).




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                          FORFEITURE ALLEGATION

      (18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c) – Criminal Forfeiture)

D-1    ANDRE SPIVEY

       1. The allegations contained in Count One of this Information are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture pursuant

to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

Code, Section 2461(c).

       2. Pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28,

United States Code, Section 2461(c), upon conviction of a conspiracy to violate

Sections 666(a), in violation of Title 18, United States Code, Section 371, the

defendant, ANDRE SPIVEY, shall forfeit to the United States of America any

property, real or personal, which constitutes or is derived from proceeds traceable to

said violations.

       3. If any of the property described above, as a result of any act or omission of

the defendant:

          a. cannot be located upon the exercise of due diligence;

          b. has been transferred or sold to, or deposited with, a third party;

          c. has been placed beyond the jurisdiction of the court;

          d. has been substantially diminished in value; or




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         e. has been commingled with other property which cannot be divided

             without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 28,

United States Code, Section 2461(c).

SAIMA S. MOHSIN
Acting United States Attorney


s/Frances Lee Carlson                         s/David A. Gardey
FRANCES LEE CARLSON                           DAVID A. GARDEY
Assistant United States Attorney              Assistant United States Attorney
                                              Chief, Public Corruption Unit

Dated: July 27, 2021




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